    Case 10-93904-BHL-11          Doc 626 Filed 07/26/11 EOD 07/26/11 11:51:11   Pg 1 of 1
                                  SO ORDERED: July 26, 2011.




                                  ______________________________
                                  Basil H. Lorch III
                                  United States Bankruptcy Judge




                             UNITED STATES BANKRUPTCY COURT                 SGENERIC (rev 11/2010)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                            Case Number:
       SSN: NA               EIN: NA                      10−93904−BHL−11
    Debtor(s)

                                             ORDER

     A(n) Motion to Appear Pro Hac Vice was filed with the Clerk of Court on July 22, 2011, by
Amelia Martin Adams.

      IT IS THEREFORE ORDERED that the Motion to Appear Pro Hac Vice is GRANTED.
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